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14                           UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF IDAHO (BOISE – SOUTHERN)
15
16 JOSE A. MORENO,                                             )   CASE NO. 1:13-cv-00033-BLW
                    Plaintiff,                                 )
17                                                             )   Judge B. Lynn Winmill
            vs.                                                )
18                                                             )   STIPULATION OF DISMISSAL
19 TRAN UNION,Defendant.
               LLC,                                            )
                                                               )
                                                                   WITH PREJUDICE BETWEEN
                                                                   PLAINTIFF AND DEFENDANT
20                                                             )

21          Plaintiff Jose A. Moreno, by counsel, and Defendant Trans Union, LLC (“Trans Union”),
22 by counsel, hereby stipulate and agree that all matters herein between them have been
23
     compromised and settled, and that Plaintiff’s cause against Trans Union should be dismissed,
24
     with prejudice, with each party to bear its own costs and attorneys’ fees.
25
                                                          Respectfully submitted,
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27
   STIPULATION OF DISMISSAL WITH PREJUDICE BETWEEN PLAINTIFF AND
28 DEFENDANT – 1:13-cv-00033-BLW
                                                 Page 1 of 4
      Case 1:13-cv-00033-BLW Document 23 Filed 02/05/14 Page 2 of 4




 1
     Date: February 5, 2014                   /s/ Sylvia A. Goldsmith (w/consent)
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14                                            Counsel for Jose A. Moreno

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   STIPULATION OF DISMISSAL WITH PREJUDICE BETWEEN PLAINTIFF AND
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 2
 3
 4                                            Respectfully submitted,

 5
     Date: February 5, 2014                   /s/ Camille R. Nicodemus
 6                                            Camille R. Nicodemus, Esq. (IN #24528-49)
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28 DEFENDANT – 1:13-cv-00033-BLW
                                     Page 3 of 4
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 1                                   CERTIFICATE OF SERVICE

 2          I HEREBY CERTIFY that on the 5th day of February, 2014, I filed the foregoing
 3 electronically through the CM/ECF system, which caused the following parties or counsel to be
 4
     served by electronic means, as more fully reflected on the Notice of Electronic Filing:
 5
 6   Ryan T. Earl, Esq.                                 Geoff B. McCarrell, Esq.
     ryantearlattorneyatlaw@yahoo.com                   gmccarrell@sgoldsmithlawoffice.com
 7   Sylvia A. Goldsmith, Esq.
     Sgoldsmith@sgoldsmithlawoffice.com
 8
 9          AND I FURTHER CERTIFY that on such date I served the foregoing on the following

10 non-CM/ECF Registered Participants in the manner indicated:
11
            Via first class mail, postage prepaid, addressed as follows:
12
13 None.
14          Via certified mail, return receipt requested, addressed as follows:
15 None.
16
17
                                                          /s/ Camille R. Nicodemus
18                                                        Camille R. Nicodemus, Esq. (IN #24528-49)
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